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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                                      11/15/21
MEDIANT COMMUNICATIONS INC.,
               Plaintiff,
                                                             21-CV-9283 (AJN) (BCM)
       -against-
                                                             ORDER REGARDING GENERAL
QUALIGEN THERAPEUTICS, INC.,                                 PRETRIAL MANAGEMENT
               Defendant.

BARBARA MOSES, United States Magistrate Judge.

       The above-referenced action has been referred to Magistrate Judge Barbara Moses for

general pretrial management, including scheduling, discovery, non-dispositive pretrial motions,

and settlement, pursuant to 28 U.S.C. § 636(b)(1)(A). All pretrial motions and applications,

including those related to scheduling and discovery (but excluding motions to dismiss or for

judgment on the pleadings, for injunctive relief, for summary judgment, or for class certification

under Fed. R. Civ. P. 23) must be made to Judge Moses and in compliance with this Court's

Individual   Practices      in     Civil    Cases,   available    on    the    Court's      website     at

https://nysd.uscourts.gov/hon-barbara-moses. Parties and counsel are cautioned:

       1.      Once a discovery schedule has been issued, all discovery must be initiated in time

to be concluded by the close of discovery set by the Court.

       2.      Discovery         applications,   including    letter-motions   requesting     discovery

conferences, must be made promptly after the need for such an application arises and must

comply with Local Civil Rule 37.2 and § 2(b) of Judge Moses's Individual Practices. It is the

Court's practice to decide discovery disputes at the Rule 37.2 conference, based on the parties'

letters, unless a party requests or the Court requires more formal briefing. Absent extraordinary

circumstances, discovery applications made later than 30 days prior to the close of discovery

may be denied as untimely.

       3.      For motions other than discovery motions, pre-motion conferences are not
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required, but may be requested where counsel believe that an informal conference with the Court

may obviate the need for a motion or narrow the issues.

       4.      Requests to adjourn a court conference or other court proceeding (including a

telephonic court conference) or to extend a deadline must be made in writing and in compliance

with § 2(a) of Judge Moses's Individual Practices. Telephone requests for adjournments or

extensions will not be entertained.

       5.      In accordance with § 1(d) of Judge Moses's Individual Practices, letters and letter-

motions are limited to four pages, exclusive of attachments.

       6.      If you are aware of any party or attorney who should receive notice in this action,

other than those currently listed on the docket sheet, please notify Courtroom Deputy Kevin

Snell at (212) 805-0228 immediately.

       7.      Counsel for the plaintiff must serve a copy of this Order on any defendant

previously served with the summons and complaint, must serve this Order along with the

summons and complaint on all defendants served hereafter, and must file proof of such service

with the Court.




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 PLEASE BE AWARE THAT, FOR THE DURATION OF THE COVID-19
 NATIONAL EMERGENCY, UNLESS OTHERWISE ORDERED BY THE COURT:

 Conferences and Hearings. Court conferences and hearings may be conducted by
 teleconference, videoconference, or in person. Teleconferences are held on the Court’s
 AT&T line. If a teleconference is scheduled, the parties are directed to call (888) 557-
 8511 and enter the access code 7746387 a few minutes before the scheduled time.
 Videoconferences are held using the Court's videoconferencing technology (Microsoft
 Teams) or (with the prior approval of the Court) such alternative videoconferencing
 technology as the parties agree upon and arrange. If the Court's technology is used, the
 Court will provide the link and further instructions in an email to counsel closer to the
 date of the conference. Please treat teleconferences and videoconferences as you would
 treat a public court appearance. If a conference or hearing in another matter is ongoing,
 please be silent (mute your line) until your case is called. In person conferences are held
 in Courtroom 20A of the Daniel Patrick Moynihan United States Courthouse, 500 Pearl
 Street, New York, New York.

 Remote Depositions. Pursuant to Fed. R. Civ. P. 30(b)(3) and (b)(4), all depositions in
 this action may be taken via telephone, videoconference, or other remote means, and
 may be recorded by any reliable audio or audiovisual means. This Order does not
 dispense with the requirements set forth in Fed. R. Civ. P. 30(b)(5), including the
 requirement that, unless the parties stipulate otherwise, the deposition be "conducted
 before an officer appointed or designated under Rule 28," and that the deponent be
 placed under oath by that officer. For avoidance of doubt, a deposition will be deemed
 to have been conducted "before" an officer so long as that officer attends the deposition
 via the same remote means (e.g., telephone conference call or video conference) used to
 connect all other remote participants, and so long as all participants (including the
 officer) can clearly hear and be heard by all other participants.




Dated: New York, New York
       November 15, 2021
                                          SO ORDERED.



                                          ________________________________
                                          BARBARA MOSES
                                          United States Magistrate Judge




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